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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DIVISION

BROOKE CALDWELL                                 *
                                Plaintiff       *
                                                *
V.                                              *
                                                *
ACCELERATED COLLECTION SVC,                     *               NO: 4:15CV00435 SWW
INC.                                            *
                   Defendant                    *


                                              ORDER

          By order entered October 14, 2016, the Court notified Plaintiff, who is represented by

counsel, that she had fourteen (14) days from the date of the order to either move for default

judgment pursuant to Rule 55(b) of the Federal Rules of Civil Procedure 1 or file a status report

stating whether she intends to prosecute her claims. The Court also advised Plaintiff that if she

failed to respond, this action would be dismissed without prejudice. As of the date of this order,

Plaintiff has failed to move for default judgment or indicate whether she intends to prosecute her

claims.

          IT IS THEREFORE ORDERED that this action is DISMISSED WITHOUT

PREJUDICE for failure to prosecute.

          IT IS SO ORDERED THIS 18TH DAY OF NOVEMBER, 2016.

                                               /s/Susan Webber Wright
                                               UNITED STATES DISTRICT JUDGE




          1
        On September 10, 2015, Plaintiff moved for entry of default, and on November 2, 2015,
the Clerk entered a clerk’s entry of default.
